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14
15                        UNITED STATES DISTRICT COURT
16                       CENTRAL DISTRICT OF CALIFORNIA

17 FEDERAL TRADE COMMISSION,
18                                                Civ. No.
                Plaintiff,
19
                                                  EXHIBITS TO PLAINTIFF’S
20                              v.                TRO APPLICATION
21
   AMERICAN FINANCIAL SUPPORT                     VOLUME IV
22 SERVICES INC., et al.,                         PX18–PX19
23
                          Defendants.             FILED UNDER SEAL
24
25
26
27
28
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                       PX18
                  Declaration of
                Victoria Severance
          Case 8:19-cv-02109-JWH-ADS Document 29 Filed 11/04/19 Page 4 of 60 Page ID #:903

      t




      1                     DECLARATION OF VICTORIA SEVERANCE
                                  Pursuant to 28 U.S.C. § 1746
                                                                                   ORIGI AL
      2
                 I, Victoria Severance, hereby state that I have personal knowledge of the
      3
      4   facts set forth below and am competent to testify about them. If called as a

      5   witness, I could and would testify as follows:
      6          1.      I am over the age of 18 and reside in San Diego, California. I am the
      7   spouse of an active duty member of the U.S. Navy. I graduated from Austin
      8   College in May 2018 with one government student loan with a total loan balance
      9    of $18,000.
     10
     11          2.      On or about August 22, 2018, I received an unsolicited telephone call
     12 from a man named Jonathan, who claimed that his company could help me with
     13 my student loans. He did not mention the name of his company. At the time of his
     14 call, my loan was in a six-month post-graduation deferment period, but I was
     15 aware that I would soon need to begin repaying that loan and I was interested in
     16 lowering my monthly loan payments. Jonathan told me that his organization
     17 would work with the Department of Education ("DOE") and my loan servicer,
     18 FedLoan Servicing ("FedLoan"), to get me into a student loan repayment program
     19 that would lower my monthly student loan payments and provide for the
     20 forgiveness of any loan balan�e remaining after 20 years. Jonathan knew the type
     21 and balance of my government student loan and he knew that my loan servicer was
     22 FedLoan. The fact that Jonathan continuously referenced DOE and FedLoan, and
     23 knew this information about my loan, led me to believe that he was working for a
     24 legitimate organization. Jonathan explained that initially I would pay $899 to
     25 lower my student loan balance, which I could pay in four monthly installments of
     26 $224.75. Then I would pay $39 monthly for 240 months, after which my student
     27 loan balance would be forgiven.
     28
        Victoria Severance Declaration, p. 1 of 6




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      1             3.   Jonathan asked if I was employed and I explained that I was not
      2     employed, but that I had had a job interview earlier that day and I was optimistic
      3     about it. He said that his company would put me in a "pay as you earn" plan since
      4     I had no income. He said that once I was employed, they would get proof of my
      5     income to provide in connection with my loan repayment program. He also asked
      6     me whether I was financially supporting any other person and I explained that I
      7     was not. I explained that I was married and my spouse was employed with the
      8     Navy.
      9·
      10            4.   Based on Jonathan's representations that his company would work
      11 with DOE and FedLoan to get me into a repayment program involving $39
      12 monthly payments and loan forgiveness after 20 years, I was interested in this
      13 program. However, I wanted first to talk to my husband and to find out if I would
      14 get the job that I had just interviewed for, especially because of the significant
      15 upfront fee that I would be required to pay to enroll in the company's program. I
      16 explained this to Jonathan and he said that he would send me a link to the
      17 documents that I needed to sign if I decided to enroll in the program, which he did.
      18 Jonathan also obtained my debit card number.
      19
      20        5.    I was hired for the job for which I interviewed and my husband had no
      21 objections to my enrolling in the program, so on August 27, 2018, I clicked on the
      22 link in the email Jonathan sent and the documents he referenced were downloaded
      23 to my laptop. This was the first time that I learned the name of the company that I
      24 was dealing with. I noticed that the documents were pre-filled with my personal
      25 information, including my name, address, social security number, date of birth, and
      26 other personal information, none of which I had given him. This further led me to
       27 believe his claims about working with the DOE and FedLoan. I could not imagine
       28
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      1     any other way that he would have gotten access to this information. I reviewed the
      2     payment agreement information carefully and it seemed substantially similar what
      3     he had explained to me earlier on the telephone. I also noted that one of the
      4     documents was from the DOE, which reassured me that the company was working
      5     with DOE. For these reasons, I e-signed the documents. I did not request a copy
      6     of the documents because I assumed that I would receive a copy at some point in
      7     this process. However, the company did not provide me �ith a copy of those
      8     documents at that time. It was only later, on April 5, 2019, when I questioned
      9     1file.org about why my payments to 1file.org were not applied to my loan, that
      10 Daniela Nepita with lfile.org emailed me a copy of the documents. True and
      11 correct copies of those documents are appended as Attachment A. The
      12 highlighted sections were on the copies that Ms. Nepita sent me on April 5, 2019.
      13 I note that, on page 10 of Attachment A, the "Authorized Service Provider/Agent"
      14 field references an "Arete Financial." I have no idea who or what that refers to.
      15
      16           6.    Late in the day of August 27, 2018, I received an email from 1file.org
      17 providing me with login credentials for the company's customer portal. I did login
      18 once but the only information that I was able to access was information on my
      19 payments to 1file.org. A true and correct of a printout of that email is included as
      20 Attachment B.
      21
      22           7.    I made the four payments of $224.75 to lfile.org on or about August
      23 27, September 17, October 5, and October 29, 2018. I paid $39 monthly payments
      24 starting in September 2018 through March 2019.
      25
      26           8.    On or about April 4, 2019, I was working on my budget and logged
      27 into my FedLoan account to see how much I owed on my student loan. I saw that
      28
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      1     no payments had been made on my loan, despite my payments to 1file.org. I sent
      2     an email to 1file.org through their website to ask why the money that I paid to the
      3     company was not applied to my student loan. Later that day, in response to my
      4     email, Daniela Nepita of 1file.org sent me an email. In her email, Ms. Nepita
      5     stated that 1file.org had consolidated my loans, which was not true because I had
      6     only one government loan with FedLoan. She advised that lfile.org had placed my
      7     loan in a Revised Pay as You Earn (REPAYE) plan that "generally limits your
      8     payments to 10 percent of your discretionary income" and "structures payments
      9     based on a 20-year term for undergraduate loans." She noted that after the
      10 respective payment periods, any remaining loan balance is forgiven. Finally, she
      11 advised me that she was "going ahead and dropping [me] from the program
      12 however you will not be getting a refund since we did work on your behalf." I was
      13 perplexed by her reference to dropping me from the program and refusing a refund
      14 because I had only asked why my payments to 1file.org had not been applied to my
      15 student loan. I had not gotten to the point of asking for a refund from 1file.org. A
      16 true and correct copy of my email exchange with Ms. Nepita is appended as
      17 Attachment C.
      18
      19           9.    I responded to this email on that same day, inquiring where my
      20 payments to 1file.org were going if they were not being applied to my loan. In
      21 response, on April 5, 2019, Ms. Nepita referenced sections of the contract that I
      22 had signed. She also attached the contract and the other documents that I signed to
      23 her email with specific sections highlighted and underlined (see Att. A). Ms.
      24 Nepita highlighted the section indicating that the $899 that I paid to 1file.org was a
      25 "service fee," and the $39 monthly payments were "monthly maintenance fees."
      26 She also attached a copy of a notice from FedLoan dated September 22, 2018,
      27 advising me that my student loan payment for the period 11/02/18 and 11/01/19
      28
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      1           13.    If I had known that contrary to their claims, none of the payments that
      2     I made to 1file.org were applied to my student loan debt, I would never have
      3     agreed to sign a contract or pay them money. As I explained in my email to Ms.
      4     Nepita on April 5, 2019, I feel that this company engages in fraudulent behavior
      5     and takes advantage of recent graduate students who are trying to be responsible
      6     and be on top of their debt.
      7
      8           I declare under penalty of perjury that the foregoing is true and correct to the
      9     best of my knowledge.
      10
      ll    Dated:   tJ.1r<p6-I-   /'(         , 2019     �
                                                          '�ctoriaSeverance
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             Victoria Severance Declaration, p. 6 of 6




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  v11em agree::; l""J-\l'lil w111 :st:m:n,;L m� rmanc1a1 msucuuon mat w111 noia me vus1oaia1 Account. v11em agrees mat t-'AN may, at its so1e a1scret1on and
  u'pon written notification to Client, change the financial institution that will hold the Custodial Account at any time, and that the Custodian
  Account may be in California or any other state selected by PAN in its sole discretion. Client agrees that the Custodial Account will not be
  used for any illegal purpose, and Client agrees to defend, indemnify and hold PAN harmless from any claims or demands related thereto
  whenever arising or discovered.

  Client agrees that sufficient funds will be available in the Designated Account at least three (3) business days prior to date of all scheduled
  ACH debits. Client understands and agrees that to stop or change a scheduled debit from the Designated Account, Client must notify PAN at
  least three (3) business days prior to any such change. In the event Client's Designated Account does not have sufficient funds for a
  scheduled debit, PAN will not be liable to any third party due to insufficient funds, restriction or dishonor related to Client's account. Client
  authorizes PAN to recover any funds arising from a NSF, dishonor, or error in debiting the Designated Account. At its sole discretion, PAN may
  recover any such funds by means of a debit to the Designated Account and/or the Custodial Account. Client agrees to defend, indemnify and
  hold PAN harmless from any claims or demands related thereto whenever arising or discovered. If Client's Custodian Account is suspended,
  cancelled, or otherwise terminated for any reason and the account has a negative balance, Client agrees to pay the negative balance upon
  demand. Should Client fail to remit the full amount of such negative balance, Client shall remain responsible for the deficit and collection
  actions may be pursued against Client.

  Client has an agreement with Service Provider, and the Payment Schedule is part of that agreement. Client directs and authorizes PAN to
  share information with Service Provider as required by Service Provider and with any other authorized parties involved in the administration of
  the Custodial Account on Client's behalf. PAN is not an owner, employee, or partner of Service Provider, and provides the Services to Client
  as an independent third party. Client agrees that PAN is not involved or engaged in any respect with the services provided by the Service
  Provider, other than acting as a third-party escrow on behalf of Client and the Service Provider. Client agrees that PAN shall not be responsible
  for determining when a payment is due or whether a payment is for the correct amount or otherwise proper. PAN's sole obligation shall be to
  execute Client's payment instructions in a commercially reasonable manner as soon as practical after receipt of such instructions or after the
  occurrence of the specified event authorizing release of a payment on behalf of Client. PAN shall not be liable for any conduct by Service
  Provider or for penalty or other charge levied by anyone on Client, for any failure of anyone to honor a transaction or for any other adverse
  action taken or not taken by any other party in connection with the Services. Under no circumstances shall PAN be liable for any special,
  incidental, consequential, exemplary, or punitive damages.

  PAN will provide Client an internet login with a login name and password for viewing the funds held in the Custodial Account and all transactions
  related to Client via a protected website. Use of Client's passcode, password or any other form of identification designated by Client in any
  transaction constitutes and will be accepted as Client's electronic signature, as that term is used in the federal Electronic Signature in Global
  and National Commerce law and other applicable laws.

  Client's funds are held in the Custodial Account pending Client's instructions for disbursement. Client has sole authority to authorize
  disbursements or transfers. You expressly authorize PAN to rely on your instructions for this purpose whether transmitted directly by you, via
  the Service Provider or by a third party you have authorized in whatever form provided, including but not limited to any instructions provided
  via email, PAN's website, E-signature, or other writing, verbally, by voicemail or any other means of communication. If Client is more than one
  person, PAN may act upon receipt the instructions of either person; however, if conflicting instructions are received before any action has
  been taken, PAN may in its sole discretion refrain from taking any action until it receives joint instructions from all Clients or a

  court order directing further action. Client agrees that PAN shall have no right or obligation to control, direct, or change any disbursement
  i �ctions provided by Client other than as expressly provided by this Agreement.



  Client may revoke any prior payment authorization at any time before such payment has been initiated by completing and submitting a
  Revocation of Recurring Payment Authorization form to PAN by email or mail. See PAN's Contact Information below.

   PAN or Client may terminate this Agreement upon delivery of written notice at any time. Upon termination of this Agreement for any reason,
   PAN shall arrange for Client's remaining funds, apart from any funds due to be paid to the Service Provider or any other person or entity as a
   result of the occurrence of specified events prior to delivery of the termination notice, to be transmitted from the Custodial Account to the
   Designated Account.

   Client agrees that all disclosures, account activity, notifications and any other communications related to the Services may be distributed to
   Client by electronic mail or through PAN's software services. Client acknowledges that Client is able to electronically receive, download and
   print such information and communications. If Client is unable to communicate electronically for any reason, Client agrees to notify PAN
   immediately, and reasonable alternative means of communication will be established in accordance with applicable law.

   Client understands and agrees that all calls to and from PAN are monitored and recorded. Client verifies that the telephone and cellular phone
   numbers and email addresses shown below presently belong to Client. Client consents to receive emails, prerecorded messages and/or auto
   dialed calls (including text messages) relating to this Agreement and the Services. These communications may be made by PAN or its agents,
   even if your phone number is registered on any state or federal "Do Not Call" list. You may incur a charge for such calls by your telephone
   carrier. PAN may obtain and contact email addresses and phone numbers provided by you directly or obtained through other lawful means.
   Your consent to this provision is not required as a condition of entering into this Agreement, and you may opt out from consenting to these
   provisions by contacting PAN in writing at PAN's Contact Information below.

                                                         � c;-.tn• �..._
   You agree to provide notice within 30 days of any channP.       VOi)[
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  . #              Date              Enrollment Fee                 Monthly Service Fee                 Total Payment
  5        Nov 27, 2018    $0.00                         $39.00                                   $39.00
  6        Dec 27, 2018    $0.00                         $39.00                                   $39.00
  7        Jan 28, 2019    $0.00                         $39.00                                   $39.00
  8        Feb 27, 2019    $0.00                         $39.00                                   $39.00
  9        Mar 27, 2019    $0 .00                        $39.00                                   $39.00
  10       Apr 29, 2019    $0.00                         $39.00                                   $39.00
  11       May 28, 2019    $0.00                         $39.00                                   $39.00
  12       Jun 27, 2019    $0.00                         $39.00                                   $39.00
  13       Jul 29, 2019    $0.00                         $39.00                                   $39.00
  14       Aug 27, 2019    $0.00                         $39.00                                   $39.00
  15       Sep 27, 2019    $0.00                         $39.00                                   $39.00
  16       Oct 28, 2019    $0.00                         $39.00                                   $39.00
  17       Nov 27, 2019    $0.00                         $39.00                                   $39.00
  18       Dec 27, 2019    $0.00                         $39.00                                   $39.00
  19       Jan 27, 2020    $0.00                         $39.00                                   $39.00
  20       Feb 27, 2020    $0.00                         $39.00                                   $39.00
  21       Mar 27, 2020    $0.00                         $39.00                                   $39.00
  22       Apr 27, 2020    $0.00                          $39.00                                  $39.00
  23       May 27, 2020    $0.00                          $39.00                                  $39.00
  24       Jun 29, 2020    $0.00                          $39.00                                  $39.00
  25       Jul 27, 2020    $0.00                          $39.00                                  $39.00
  26       Aug 27, 2020    $0.00                          $39.00                                  $39.00
  27       Sep 28, 2020    $0.00                          $39.00                                  $39.00
  28       Oct 27, 2020    $0.00                          $39.00                                  $39.00
  29       Nov 27, 2020    $0 .00                         $39.00                                  $39.00
   30      Dec 28, 2020    $0.00                          $39.00                                  $39.00
   31      Jan 27, 2021    $0.00                          $39.00                                  $39.00
   32      Mar 01, 2021    $0.00                          $39.00                                  $39.00
   33      Mar 29, 2021    $0.00                          $39.00                                  $39.00
   34      Apr 27, 2021    $0.00                          $39.00                                  $39.00
   35      May 27, 2021    $0 .00                         $39.00                                  $39.00
   36      Jun 28, 2021    $0.00                          $39.00                                  $39.00
   37      Jul 27, 2021     $0.00                         $39.00                                   $39.00
   38      Aug 27, 2021     $0.00                         $39.00                                   $39.00
   39       Sep 27, 2021    $0.00                         $39.00                                   $39.00
   40       Oct 27, 2021    $0.00                         $39.00                                   $39.00
   41       Nov 29, 2021    $0.00                         $39.00                                   $39.00
   42       Dec 27, 2021    $0.00                         $39.00                                   $39.00
   43       Jan 27, 2022    $0.00                         $39.00                                   $39.00
   44       Feb 28, 2022    $0 .00                        $39.00                                   $39.00
      45    Mar 28, 2022    $0.00                         $39.00                                   $39.00
      46    Apr 27, 2022    $0.00                         $39.00                                   $39.00
      47    May 27, 2022    $0.00                         $39.00                                   $39.00
      48    Jun 27, 2022    $0 .00                        $39.00                                   $39.00
      49    Jul 27, 2022    $0.00                         $39.00                                   $39.00
      50    Aug 29, 2022    $0.00                         $39.00                                   $39.00
      51    Sep 27, 2022    $0.00                         $39.00                                   $39.00
      52    Oct 27, 2022    $0.00                          $39.00                                  $39.00
      53    Nov 28, 2022    $0.00                          $39.00                                  $39.00
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      54    Dec 27, 2022    $0.00                          $39.00
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Attach. A
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   - #              Date           Enrollment Fee                Monthly Service Fee                       Total Payment
   1 05   Mar 29, 2027     $0.00                        $39.00                                    $39.00
   1 06   Apr 27, 2027     $0.00                        $39.00                                    $39.00
   1 07   May 27, 2027     $0.00                        $39.00                                    $39.00
   1 08   J u n 28, 2027   $0.00                        $39.00                                    $39.00
   1 09   J u l 27, 2027   $0.00                        $39.00                                    $39.00
   1 10   Aug 27, 2027     $0.00                        $39.00                                    $39.00
   111    Sep 27, 2027     $0.00                        $39.00                                    $39.00
   1 12   Oct 27, 2027     $0.00                        $39.00                                   $39.00
   1 13   Nov 29, 2027     $0.00                        $39.00                                   $39.00
   114    Dec 27, 2027     $0.00                        $39.00                                   $39.00
   1 15   Jan 27, 2028     $0.00                        $39.00                                   $39.00
   1 16   Feb 28, 2028     $0.00                        $39.00                                    $39.00
   1 17   Mar 27, 2028     $0.00                        $39.00                                   $39.00
   1 18   Apr 27, 2028     $0.00                        $39.00                                    $39.00
   1 19   May 30, 2028     $0.00                        $39.00                                   $39.00
   1 20   J u n 27, 2028   $0.00                        $39.00                                   $39.00
   1 21   J u l 27, 2028   $0.00                        $39.00                                   $39.00
   1 22   Aug 28, 2028     $0.00                        $39.00                                   $39.00
   1 23   Sep 27, 2028     $0.00                        $39.00                                   $39.00
   1 24   Oct 27, 2028     $0.00                        $39.00                                   $39.00
   1 25   Nov 27, 2028     $0.00                        $39.00                                   $39.00
   1 26   Dec 27, 2028     $0.00                        $39.00                                   $39.00
   1 27   Jan 29, 2029     $0.00                        $39.00                                   $39.00
   1 28   Feb 27, 2029     $0.00                        $39.00                                   $39.00
   1 29   Mar 27, 2029     $0.00                        $39.00                                   $39.00
   1 30   Apr 27, 2029     $0.00                        $39.00                                   $39.00
   1 31   May 28, 2029     $0.00                        $39.00                                   $39.00
   1 32   J u n 27, 2029   $0.00                        $39.00                                   $39.00
   1 33   J u l 27, 2029   $0.00                        $39.00                                   $39.00
   1 34   Aug 27, 2029     $0.00                        $39.00                                   $39.00
   1 35   Sep 27, 2029     $0.00                        $39.00                                   $39.00
   1 36   Oct 29, 2029     $0.00                        $39.00                                   $39.00
   1 37   Nov 27, 2029     $0.00                        $39.00                                   $39.00
   1 38   Dec 27, 2029     $0.00                        $39.00                                   $39.00
   1 39   Jan 28, 2030     $0.00                        $39.00                                   $39.00
   1 40   Feb 27, 2030     $0.00                        $39.00                                   $39.00
   141    Mar 27, 2030     $0.00                        $39.00                                   $39.00
   1 42   Apr 29, 2030     $0.00                        $39.00                                   $39.00
   1 43   May 27, 2030     $0.00                        $39.00                                   $39.00
   1 44   Jun 27, 2030     $0.00                        $39.00                                   $39.00
   1 45   Jul 29, 2030     $0.00                        $39.00                                   $39.00
   1 46   Aug .27, 2030    $0.00                        $39.00                                   $39.00
   1 47   Sep 27, 2030     $0.00                        $39.00                                   $39.00
   1 48   Oct 28, 2030     $0.00                        $39.00                                   $39.00
   1 49   Nov 27, 2030     $0.00                        $39.00                                   $39.00
   1 50   Dec 27, 2030     $0.00                        $39.00                                   $39.00
   1 51   J an 27, 2031    $0.00                        $39.00                                   $39.00
   1 52   Feb 27, 2031     $0.00                        $39.00                                   $39.00
   1 53   Mar 27, 203 1    $0.00                        $39.00                                   $39.00
   1 54   Apr 28, 203 1    $0.00                        $39.00                                   $39.00

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                       Attachment B
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                       Attachment C
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   •   817/2619                                                  Re: refund request
         my payments been going? That is my primary issue. I would be happy to re enroll into the program if that could
         be explained. And if re-enrollment is no longer available then can my payments be directed to the Fedloan
         portal and going towards reducing my student loans. My main concern was the issue that it wasn't seeming like
         my monthly payments were going to my loans.

         Thank you,
         Victoria S ·

         From: Daniela Nepita <0nepita@lfile.org>
         Sent: Thursday, April 4, 2019 4:45 PM
         To: Victoria L. Severance
         Subject: refund request

         Hello Ms. Severance,
         I have reviewed you file as far as the program in which you are in you were placed on a Revised Pay As You Earn
         (REPAVE) plan, an income-driven repayment plan that generally limits your payments to 10 percent of your
         discretionary income. REPAVE structures payments based on a 20-year term for undergraduate loans and 25
         years for graduate or professional school loans. If you still have debt after your term has expired, the remaining
         balance will be forgiven. We went ahead and Direct consolidated your student loans in order to qualify for this
         program so the reason for you not having a payment is simply because of your income. I will be going ahead
         and dropping you from the program however you will not be getting a refund since we did work on your behalf
         if you have any other questions please call us we are open Monday- Friday from 8:00 am -4:30pm.




        https//webmaffspectrumnet/maff                                                                                        212




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                       Attachment D
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                       PX19
                  Declaration of
                Darrelle Thompson
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I    1     government student loans. My monthly payments were $150.39. When he saw
      2    that my loan servicer was Navient, he told me that they were a horrible loan
      3    servicer.
      4
      5    3.    Brian then described the company's services. He also asked me questions
      6    about my income, marital status, dependents, expenses, occupation, employer,
      7    whether I had ever filed bankruptcy, and other things. I told Brian that I was
      8    married, had one child, worked part-time as an adjunct professor at a community
      9    college, and made approximately $30,000 annually. When I told him that I was a
     10 college professor, he said that they might be able to get me into a Public Service
     11 Loan Forgiveness program, but that I would not qualify unless I worked full-time.
     12 He explained that the company would work on my behalf until they successfully
     13 enrolled me in an income driven repayment plan that would provide eventual loan
     14    forgiveness after two years. He said that after the company completed the
     15 applications, my monthly payment would be less than the $150.39 that I was
     16    paying and it would never increase.
     17
     18    4.    He explained the process. He said that they would review my student loans
     19 and come up with a product that worked for me. They would complete the
     20 appropriate forms and send them to me to review and sign. They would notify me
     21 as they processed and filed the required documents. Brian explained that I would
     22 pay $1,377 for their services, but that they could arrange a loan to finance the cost
     23 of the program. Under the finance arrangement, I would pay $49 monthly until the
     24    $1,377 was fully paid. I asked Brian if I could prepay the balance of the $1,377
     25 loan at any time without penalty and he assured me that I could. Based on Brian's
     26    claims that the company would work on my behalf to place my student loans into

I    27 an income-based repayment plan, and that my monthly payments would be less

\    28    than the $150.39 that I was paying and would not increase over time, I agreed to




\
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     1     pay the $1,377 for their services. I had some trepidation, but I thought that if I
     2     paid monthly rather than paying the full cost upfront, I could figure out if the
     3     company was actually fulfilling its promises before I paid them the full $1,377.
     4
     5     5.    Later that day, I received an email from Brian attaching a ten-page
     6     document. The first page identified the company, Arete Financial Freedom
     7     ("Arete"). I did not know the name of the company until I received these
     8     documents. These documents included a Preparation Service Agreement, a
     9     Document Preparation and Service Agreement, a Privacy Policy, a Verification of
     10    Income form, a Limited Power of Attorney, and a Certification of Identity &
     11 Authorization to Disclose Personal Information. True and correct copies of these
     12    documents are appended as Attachment A. The Preparation Service Agreement
     13 inaccurately stated that I had 21 loans. More importantly, when I saw that there
     14 was a Power of Attorney form, I determined that I was not going to sign it. Arete
     15    also sent me documents from Equitable Acceptance Corporation ("Equitable"),
     16    including a Credit Request Authorization, Revolving Credit Plan, Purchase
     17 Agreement, Privacy Policy, Auto Pay Terms of Use, and two form Notices of
     18    Cancellation. True and correct copies of these documents are included as
     19    Attachment B.
     20
     21 6.       When I received these documents, I called Arete and a man answered. I
     22 asked to speak to Brian Zimring, but the man who answered, and identified himself
     23 as Irving Arredondo, said that he could help me. He also indicated that he was my
     24 account manager. I explained that Brian had emailed me some documents to
     25    review and sign, but that I was not going to sign the Power of Attorney form
     26    ("PoA"). He said that the PoA was only for "this." I explained that I thought it
     27 was imprudent for me to sign any PoA with them. He relented and told me that I
     28    did not need to sign the PoA form, but needed to agree to join the program and to

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     1     pay the required fees. Irving also told me that I needed to send them my last
     2     paycheck stub and my last year's federal income tax return, which I did later that
     3     day. I did not sign any of the Attachment A documents that came with the PoA
     4     form that I received from Arete. After speaking to Irving, I signed the Equitable
     5     documents (Attachment B) financing the cost of Arete's services. The Revolving
     6     Credit Plan accurately identified our monthly household income but incorrectly
     7     indicated that I had three dependents. Irving also told me not to make any more
     8     payments to Navient. My last payment to Navient was on October 10, 2017.
     9
     10 7.       The next day, October 27, 2017, Brian emailed me login credentials to the
     11 Arete customer portal, which he said was the way that Arete preferred to
     12 communicate with me. Along with the Arete customer portal login information,
     13    Brian sent a "welcome" letter from Equitable, and an Arete Borrower Eligibility
     14    Confirmation that identified my two federal student loans. True and correct copies
     15 of these documents are included as Attachment C.
     16
     17    8.    I did not hear from Arete in November 2017, but I assumed that they were
     18    working on my accounts. The Arete customer portal had a "Servicer Notes"
     19 section where I was able to discern some of the actions that Arete was taking on
     20 my student loans. A true and correct copy of a screen shot from the Servicer Notes
     21 section of my Arete account is appended as Attachment D. The Arete customer
     22 portal also included a "Documents" section where I was able to review and obtain
     23 copies of the student loan repayment requests and other forms that Arete may have
     24 filed with the Department of Education on my behalf. I saw these documents on
     25 the portal at the time, but I did not open or review them until early in March 2019.
     26    The Servicer Notes section shows that on or about October 31, 2017, Arete filed a
     27 loan consolidation request on my behalf. Attachment Eis a true and correct copy
     28

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     1     of a Federal Direct Consolidation Loan Application and Promissory Note dated
     2     October 31, 2017, that I obtained from the Arete customer portal.
     3
     4     9.    Arete did not provide me with the opportunity to review or sign the Federal
     5     Direct Consolidation Loan Application and Promissory Note before Arete filed it.
     6     On page 5, the document contains my name listed under "Borrower's Signature." I
     7     did not give Arete permission, through a Power of Attorney form or otherwise, to
     8     sign it on my behalf. This document also contains several errors, which I believe I
     9     would have spotted if afforded the opportunity to review it. For example, the
     10 "Borrower Information" on page one lists the wrong address, email address, and
     11 employer information for me. It also lists the names of my mother and father, but I
     12 never provided Arete with that information. It does appear that my loans were
     13 consolidated, changing my loan servicer from Navient to MyFedLoan. According
     14 to my student loan records, my loans were in forbearance starting on December 7,
     15 2017, and consolidated on or about December 17, 2017.
     16
     17 10.      The Servicer Notes also show that on or about February 13, 2018, Arete
     18    filed an Income Driven Repayment ("IDR") application on my behalf. In the
     19 notes, a man named "Jerico Saavedra" indicated that it would "take up to 90 days
     20 to complete." I used the Arete customer portal to obtain a copy of an IDR
     21 application dated February 13, 2018, a true and correct copy of which is included
     22 as Attachment F. This document lists my email address with the domain name
     23 "arete.com." I have never used that email address. It also falsely and without my
     24 knowledge represented that I have one person living with me who is not my spouse
     25 or child (Section 3, question 6). In addition, it indicated that I "cannot reasonably
     26    access my spouse's income information      [y]ou will be treated as single," despite
     27 the fact that I sent Arete our joint tax return showing our combined household
     28    income, as evidenced by the Equitable documents that Arete sent me (see Att. B

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     1     and paragraph 6 of this declaration). In addition, the form states in Section 4B that
     2     my income had "significantly changed" since the filing of my last federal income
     3     tax return. Again, this is false. Unfortunately, Arete did not provide me with an
     4     opportunity to review this document before they filed it. Even though Arete placed
     5     my name in the "Borrower's Signature" line on page 4, I did not sign it.
     6
     7     11.   According to the "Servicer Notes," my IDR was approved on March 20,
     8     2018, lowering my monthly payment to $98.97 beginning on March 19, 2018. On
     9     March 23, 2018, I paid what I believed was the remaining balance that I owed to
     10 Equitable Acceptance. A true and correct copy of a section of my credit card
     11 statement showing the payment is included as Attachment G. In March 2018, I
     12 received a message in my Arete customer portal indicating that I owed Equitable
     13    Acceptance an additional $49.83. I paid that $49.83 and it cleared my account on
     14 April 6, 2018.
     15
     16    12.   Apparently, around this time, Arete also filed a General Forbearance
     17 Request on my behalf, without my knowledge or consent, which put my student
     18    loans in forbearance for 30 days. Attachment H is a true and correct copy of a
     19    General Forbearance Request, dated March 20, 2018, requesting a forbearance for
     20 the period from March 19, 2018, to April 19, 2018, which I did not review or sign
     21 and which I obtained from the Arete customer portal after the fact. I note that in
     22 the space labeled "Borrower's/Endorser's Signature" on page 2, Arete put the
     23    words "Web Request." My loan payment history found on the FSA website
     24 confirms these forbearances. A true and correct copy of a screen shot of my FSA
     25 payment history is included as Attachment I.
     26
     27 13.      On or about April 2, 2018, I decided to login to my FSA account to find out
     28    the status of my student loans, but I was locked out of my account. I called FSA

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      1    and was told that my login credentials had been changed without my knowledge.
      2    This upset me so I called Arete to express my dissatisfaction. I spoke to Irving
      3    who said that I had signed a PoA permitting Arete to obtain access to my FSA and
      4    loan servicing accounts. This is untrue. I intentionally did not sign the PoA. Also,
      5    the PoA does not give Arete permission to change my login credentials to my FSA
      6    or loan servicer accounts. I told Irving that I wanted the login credentials to my
      7    loan servicer and FSA accounts, which he sent by email later that day. A true and
      8    correct copy of a printout of that email is included as Attachment J.
      9
     10 14.      At various times I have tried to login to my loan servicer and FSA accounts,
     11 only to find that Arete had changed my login credentials. I have called both my
     12 loan servicer and FSA and advised them that I do not want anyone but me
     13 accessing my accounts. In late 2018, frustrated by the fact that Arete persisted in
     14 changing my login credentials, I notified Arete by phone that I wanted to sever my
     15 relationship with the company. On December 26, 2018, I spoke to a woman who I
     16    believe was Catherine Chan and she subsequently sent me an email confirming the
     17 cancellation of my agreement with them. I did not respond to it. That was my last
     18 communication from the company. A true and correct copy of that email is
     19 appended as Attachment K.
     20
     21 15.      I filed my own income recertification this year and on January 19, 2019,
     22    FedLoan Servicing notified me that my payment jumped to $540.03. I called
     23 FedLoan Servicing and asked why it had increased so much. Over the course of
     24 the conversation, I learned that when Arete filed the initial IDR application, they
     25 reported only my income and not our household income, which is significantly
     26    higher. I reported our household income which significantly increased the required
     27 monthly payment. I subsequently arranged for a graduated payment plan.
     28

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                       Attachment A
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                                                                              ARETE FINANCIAL FREEDOM

                                                                                   1261 E.Dyer.Rd.#100
                                                                                   Santa Ana, CA, 92705
                                                                                      (888) 331-5827



    We are a private company not affiliated with the Department of Education. You may, of course, try to complete your applications and consolidate your student loans or make changes to
    their repayment plans yourself without paying anyone a fee the results could be the very same or they might vary.

    However, our services are private and intended to assist you through a process that many consumers don't understand or have the time to complete on their own. We wade through
    all your paperwork and the DOE websites and applications, finding the documents that you need. We will work in the best interest of our clients, who in many cases are stuck with their
    lender not offering legitimate help. In many cases, we are successful in assisting borrowers in completing applications to help mentor various programs where their lenders had
    previously denied them based on illegitimate reasons. For our expertise, time and the work we do we charge a fee and earn it based on a performance basis.




                                                                                               ATTACHMENT A
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Preparation Service Agreement




    Client F irst Name:Darrelie                                                             C tient Last Name: Thompson

                                                                                            Former Last Name:

    Street Address:                                                                         C ity, State, Zip: Menifee, CA

    Client E mail :                       @yahoo .com




    Esti mated Total Federal Loan Balance : $51 ,8 1 3.00                                   Loan Status :

    Approximate C urrent Monthly Payment: $                                                 Number of Loans: 21




I
    Estimated New Loan Payment: $0.00                                                       New Loan Payment Validation Term: Annually

    Estimated Payment Term (Months) : 1 20



I
I
    C lient SS N :

    DL/1D Number & State :                                                                  FASFA PIN:

    Employer Name :      Redacted                                                           Occu pation : Adjunct Professor

    Employer Street Address:          Redacted                                              Employer City, State, Zip: Riverside, CA,92 506

    E m p loyer P hone: Redacted                                                            Family S ize : 3

    Marital Status : Married FHing Jointly                                                  F i.li ng Stat us: Married Filing Jointly




I
    Cu rrent Annual I ncome: $30000                                                         Form of Docume nted Income : 1 040

    Spouse First Name:                                                                      Spo� se Last Name:



    Spous e Employer Name:                                                                  Spouse Work Ph one:

    Spouse Annual Income: $                                                                 C lient PSLF Candidate {Yes/No):

                                                                                                                                              or
    Reference 1 Full Name:                                                                  Permanent Address: 1 290

    Reference 1 Phone                                                                       Relationship to Client: Friend

    Reference 2 Full Name:                                                                  Permanent Address:

    Refe re nce 2 Phone:                                                                    Relationship to Client: Friend




Cfient confirms that aft of the above information is true and correct to the best of their understanding at the present time, and Arete Financial Freedom bases, in part, its decision to
accept Client and provide seivices to Clie,nt oo the accuracy of the above infoonation Arete Financial Freedom shaR not be held respons ble in any way for the accuracy of the
above infonnation, any claim arising from use or storage of such information, or canying out its contractual obligations using the above infoonation

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    !Client Signatu re:                                       loate:




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                                                                       Document Preparation and Service Agreement

    This SeNice Agreement is entered into on the date shown below between Arete Financial Freedom ("Company") and the Client listed above ("Client'').

    Company provides document preparation seNices to assist consumers who are applying for Federal Student Loan Consolidation SeNices and 1 ) verifies completion of your
    application for a Federal Student Loan Consolidation OR 2) changes your repayment plans or re-enrollment on your behalf, OR alternatively, completes another Department Of
    Education sponsored program suitable for Client using Department of Education ("DOE") forms. Company is a private company, not affiliated with any government agency,
    and for a fee Company will assist in assembly of loan consolidation documents or other application documents for student loan debt assistance programs offered by the DOE.
    Company is not a lender, a debt consolidation company, or a law firm and does not provide legal advice or act as Client's legal counsel in front of the DOE.

    Company and Client do hereby understand, oovenant and agree to the following:

          1 . Provide Complete and Truthful Information. Company will provide Client with an oveNiew session limited to their federal student loan debts and Client expressly
          represents and warrants that Client will provide Company with information that is complete, accurate and truthful.

          2. Performance of Services. Upon receipt of all information from Client, Company shall promptly analyze Client's situation, review the information provided by the Client, and
          complete the application forms required for the DOE program(s) that have been selected by the Client. Company shall prepare for filing an application to initiate a Federal
          Student Loan Consolidation or make changes to their repayment plans through the DOE on behalf of Client, or alternatively and at the Client's option, identify and apply for
          other DOE-sponsored programs suitable for Client. A l completed applications shall be delivered by Company by direct submission to DOE. Company will monitor application
          progress and provide reasonable updates to Client.

          3. Client Obligations. Proof of Income must be provided to the Company and is an integral part of our seNice. If you do not or cannot produce your proof of income (30 - 31
          consecutive days of paystubs OR the most recent year's Tax Return) then you lose the opportunity to repay your student loan debts using the lowest possible payment.

          Client must submit proof of inoome within 31 days (30 - 31 consecutive days of paystubs OR the most recent year's Tax Return). The 31 days begin when you sign this
          agreement. If 31 Days pass and we have NOT received your proof of income, then we wi l cancel your file and cancel this agreement. If this happens, you may reapply on your
          own or attempt to use our seNices again subject to a new agreement.

          All other requested documentation must be provided to Arete Financial Freedom within ten ( 1 0 ) business days of Client's receipt of such request. Failure to provide
          documentation may cause documents to expire which may delay the consolidation or other changes to your repayment plans processes or cause oonsolidation or changes to
          your repayment plans to expire or be rejected by the DOE. Arete Financial Freedom shall not be held liable for rejected or expired consolidations or changes to your
          repayment plans in the event Arete Financial Freedom is unable to contact Client after several attempts.

          Once your Direct Consolidation Loan or changes to your repayment plan is complete, you will not be able to "unconsolidate" any portion of the loan. All consolidations and
          changes to your repayment plans are performed by the DOE or its seNicers- Arete Financial Freedom does not consolidate your loans or lend you funds. If you find any errors
          (incorrect information, missing loans, etc.) or wish to discontinue our seNices or the consolidation or changes to your repayment plans process, please ca l us immediately at
          (888) 331 -5827.

          4. Fees that Client Pays. The payment of $1 377 for Company's seNices relating to the student loan assistance application, their preparation and delivery to the DOE are
          included in this fee in the first year. If your plan requires a yearly recertification then an additional 2 years of recertification is included at no cost to you IF you make your
          Third Party payment of fees on time according to the schedule with them. Clients who are enrolled in a Standard plan w ll not receive an additional 2 years of
          recertification.

          The payment of our $ 1 377 fee is processed by a Third Party. Client may, independent of Company and at Client's option, uses a third party credit provider to advance fees to
          the Company. Any such finance or credit arrangements are between Client and independent providers subject to their own terms and agreements. If Client elects such, Client
          should review the separate Credit Plan which sets the schedule for the fees that the Client w ll be charged . The Credit Plan pays all authorized seNices provided by Arete
          Financial Freedom under this Agreement. In no way does Arete Financial Freedom offer its own Credit Plan or administer the Credit Plan offered by Third Parties.

          No fees will be earned by the Company until the Company 1 ) verifies oompletion of your application for a Federal Student Loan Consolidation or 2) changes your repayment
          plans or reenrollment on your behalf, or alternatively, completes another Department Of Education sponsored program suitable for Client.

          Should Client not complete or if Client cancels, any elected Third Party Credit Plan payments, the full amount of $1 377 w ll be due immediately when Company either 1 )
          verifies completion of your application for a Federal Student Loan Consolidation o r 2 ) changes your repayment plans or reenrollment on your behalf, o r alternatively, completes
          another Department Of Education sponsored program suitable for Client.

          5. Limited Guarantee. Company guarantees that the documents it provides for Client in the first year will be sufficient to obtain a federal student loan consolidation or
          changes to Client repayment plans or acceptance into another DOE-offered program for student loan debt subject to the following oonditions: ( 1 ) Client fully cooperates, is
          honest, complete and timely in providing all information requested by Company and DOE; and/or (2) Client does not possess a characteristic that pursuant to DOE rules or
          applicable law would disqualify Client from receiving a consolidation or changes to Client repayment plans.

          6. FREE 2 Years. Because we offer FREE recertification yearly, for 2 additional years IF you r plan requires yearly recertification, any time a Client cancels during the 2
          additional years DOES NOT ALLOW THE CLI ENT TO RECEIVE ANY MONEY BACK. The $1 377 fee was paid relating to the student loan assistance application and its
          preparation and delivery to the DOE in the first year and is not to be construed as a pro ration of fees or as an installment of fees. If your plan requires yearly recertification, an
          additional two years of recertification is included at no cost to you as an incentive to pay your Third Party fees on time without interruption or notice of nonsufficient funds. You
          must follow the original Third Party schedule of payment dates in order to receive your 2 years of recertification.

          In the event that the DOE or any SeNicers change their policies or programs that would adversely affect the Company's ability to continue to offer consolidation or changes to
          Client repayment plans application prep or similar seNices to the public, at the Company's discretion these recertification benefits may be discontinued.

          7. Process Summary. Once Client provides Company with all requested information and paperwork, Company will begin preparing relevant documents and will submit them
          to the DOE.

          8. Indemnification and Hold Harmless. Client hereby agrees to defend and hold harmless Company from and against any claims and liability of any nature whatsoever
          arising out of or in connection with Client's failure to timely provide requested information to Company, Client's lack of authority or ability to complete terms of this Agreement,
          and all other claims arising out of this Agreement or relating to Client's loans and other financial obligations. This Agreement constitutes the entire agreement between the
          parties. Company makes no warranty, express or implied, as to the frtness of any recommendation it may make to Client arising out of this Agreement. Except for cause, Client
          unconditionally waives any right of action against Company, its officers, directors, employees, agents, brokers and assignees, at law, equity or any other cause of action for
          any reason, directly, indirectly or proximately believed to arise out of this Agreement, for any damages of any nature whatsoever that Client may incur by reason of Client

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          following any recommendation of Company or Client's failure to follow any recommendation of Company, whether any singular, concurrent or series of recommendations are
          acted upon or not acted upon in whole or in part by Client. Client understands that Company is solely a document preparer and education provider. Company shall never act as
          a legal intermediary between Client and any creditor not limited to the DOE. This section shall suNive any termination of this Agreement.

          9. Important Limitation on Consumer Rights- Mandatory Arbitration Requirement- Please read carefully: In the event of any controversy, claim or dispute between
          the parties arising out of or relating to this agreement or the breach, termination , enforcement, interpretation , conscionabil ity or validity thereof, including any determination of
          the scope or applicability of this agreement to arbitrate, shall be determined by arbitration in Orange County, California or in the county in which the consumer resides, in
          accordance with the Laws of the State of California for agreements to be made in and to be performed in California. The parties agree that the arbitration shall be
          administered by the American Arbitration Association ("AAA") pursuant to its rules and procedures and an arbitrator shall be selected by the AAA. The arbitrator shall be
          neutral and independent and shall comply with the AAA code of ethics. The award rendered by the arbitrator sha l be final and shall not be subject to vacation or modification.
          Judgment on the award made by the arbitrator may be entered in any court having jurisdiction over the parties. If either party fails to comply with the arbitrators award, the
          injured party may petition the circuit court for enforcement. The parties agree that either party may bring claims against the other only in his/her or ts individual capacity and
          not as a plaintiff or class member in any purported class or representative proceeding . Further, the parties agree that the arbitrator may not consolidate proceedings of more
          than one person's claims, and may not otherwise preside over any form of representative or class proceeding. The parties shall share the cost (not attorneys' fees) of
          arbitration equally. In the event a party fails to proceed with arbitration, unsuccessfully challenges the arb trator's award, or fails to comply with the arbitrators award, the other
          party is entitled to costs of suit, including a reasonable attorney's fee for having to compel arbitration or defend or enforce the award. Binding Arbitration means that both
          parties give up the right to a trial by a jury. It also means that both parties give up the right to appeal from the arbitrator's ruling except for a narrow range of issues that can or
          may be appealed . It also means that discovery may be severely limited by the arbitrator. This section, the arbitration requirement and class action waiver shall suNive any
          termination.

          1 0. Important Disclosure. You may, of course, try to complete your applications and consolidate your loans yourself without paying anyone a fee - the results
          could be the very same or they might vary. However, our services are private and focused; we wade through all your paperwork and the DOE websites and
          applications, finding the documents that you need. Then we take the time to accurately prepare the documents for you backed by our guarantee (see above).

          1 1 . Entire Agreement. By virtue of Client's signatu re below, Client acknowledges that he/she has read, understands and agrees to every term, covenant and condition of this
          Agreement without change or modification and that he/she has received a true and complete copy hereof, effective on the date below. This Agreement is the only Agreement
          between the panties and there is no other collateral agreement (oral or written) between the parties in any manner relating to the subject matter of this agreement. If any
          portion of this agreement is held to be invalid or unenforceable, the remaining provisions will remain in effect. It is the parties express intent that the Arbitration Section of this
          Agreement be the preferred and sole method for resolving all disputes and claims between the parties. The parties mutually understand and agree that a facsimile copy
          signature or an electronic signature on this agreement shall be deemed an original for all lawfully enforceable purposes.

          12. Limitations on Damages. Liability under this Agreement and/or relating directly or indirectly to Client's participation in any government loan or relief program, under
          any theory of liability regarding any claim by the Client is limited to the amount of fees paid by Client and received by Company. The Parties agree to be contractually bound to
          such limitation on any damages, and agree not to demand or attempt to recover any amount in excess of such . This section shall suNive any termination.

          1 3. Information Authorization. Client hereby authorizes Company to verify past and present employment earnings records and any other asset balances that are needed to
          process my application request(s). Importantly, Company does not provide any form of credit repair, credit score enhancement, unsecured or secured debt relief, or legal or
          tax advice, so any information obtained by Company can't be used for those purposes.

           14. Electronic and Voice Communication Consent. Client consents to do business electronically with Company. Client understands that electronic transactions, not
          limited to emails, are inherently unsecure and that both Client and Company will take all reasonable steps to maintain the Privacy of the information shared between the parties.
          Client consents to receive information and documents relating to this Agreement and Company seNices via electronic mail, text message, facsimile, voicemail, and any other
          common electronic means. Client understands that all costs associated with the receipt, review and use of such electronic communications shall be those of Client, such as
          maintaining access to the Internet or paying for text messages. Client consents to receive updates and documents relating to this Agreement and the seNices and programs
          offered by Company via prerecorded voice messages, text/SMS messages, and/or through the use of an automated dialing system. Client may contact Company at any time to
          opt-out of receiving updates, new programs or offers through prerecorded or autodialed messages.

          1 5. Servicing Rights. Client understands that Company may use a third party to assist in processing duties pursuant to this Agreement. Company may unilaterally assign,
          transfer and/or sell the seNicing, processing and/or receivables relating to this Agreement to an independent provider. In the event of a partial or complete transfer, the terms
          and obligations of this Agreement shall remain in full force and effect.

    BY SIGNING BELOW {ELECTRONICALLY OR PHYSICALLY), I Darrelle Thompson H EREBY ACKNOWLEDGE THAT I HAVE NOT BEEN ADVISED BY COM PANY, ANY
    OF ITS AGENTS, AND/OR AFFILIATES TO FOREGO A STUDENT LOAN PAYMENT OR DEFAU LT ON ANY CREDITOR OBLIGATIONS. FAILURE TO MAKE TIMELY
    CREDITOR PAYME NTS COULD DISQUALIFY THE CLIENT FROM OBTAINING DOE RELIEF AND NEGATIVELY IMPACT CLIENT'S CREDITWORTHINESS. CLIENT
    ACKNOWLEDGES THAT NO GUARANTEES CONCERN ING THE SUCCESS OF ANY LOAN CONSOLI DATION OR CHANGES TO THEIR REPAYMENT PLANS HAVE
    BEEN PROVIDED TO CLI ENT BY COMPANY, EXCEPT AS CONTAI NED HERE I N . I UNDERSTAND AND CONSENT TO THE ARB ITRATION C LAUSE, CLASS ACTION
    WAIVER, AND LIM ITATION OF L IABI LITY CONTAINED HERE IN , AND HAVE HAD TH E OPPORTUN ITY TO REVIEW THIS AGREEMENT I N ITS TOTALITY AND ASK ANY
    QUESTIONS OF COMPANY.

                           Executed Om This Date:                     Nov 27, 201 7
                           Client Signature:           ---------- ------------- Date: ------------
                           Client Name:                 Darrelle Thompson                                                      DOB
                           Company Authorized Representative:                         �� � � mring

    U NDERSTANDING THE USE OF YOU R SOCIAL SECU RITY NUMBER
    I Darrelle Thompson understand that during the document preparation process, Arete Financial Freedom will need to access my Student Loan Programs for informational purposes,
    only. Any information obtained on my behalf from the Government or SeNicer site will be used solely for the purpose of preparing documents. The site may ask for my Social Security
    number and I have supplied that to Arete Financial Freedom to obtain information specific to my loans that will assist in the assembly of loan consolidation documents or changes to
    my repayment plans or other application documents for student loan assistance programs offered by the DOE. Arete Financial Freedom is not a lender, a debt consolidation
    company, or a law firm.

                           Client Signature:           ----------------------- Date: ------------


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                                                                                                Privacy Policy

    Arete Financial Freedom (Hereinafter "Company") is dedicated to protecting your privacy and providing you with the highest level of service. This Policy explains what Company
    does to keep infomiation about you private and secure. This Policy covers only infomiation that you provide to Company or that it obtains about you from companies that you have
    chosen to do business with. Please read this Policy carefully and contact us if you have any questions.

    Personal Information We Collect

    The personal information we collect about you comes from the following sources:

          • I nfo rmation we receive fro m yo u , s u ch as yo u r n a m e , a d d re s s , a n d t e l e p h o n e n u m b e r, or oth e r i n formation that you provi d e to us
            over t h e p h o n e or in d o c u m ents or a p p l i cati o n s ;
          • I n fo rmation a b o u t y o u r tra n s a cti o n s , s u ch as y o u r a c co u n t b a l a n ces w i t h y o u r credito rs , p a y m e n t h i stori e s , acco u n t activity, and a l l
            o t h e r i nfo rmati o n that m a y be conta i n ed i n y o u r c r e d i t card state m e nts o r other re po rts re l ati n g t o you r d e b t , a n d ;
          • I nformation we receive fro m co n s u m e r reporti n g a g e n ci e s a n d oth e r s o u rces, s u c h as y o u r cre d i t b u re a u reports , c o l l ecti o n age n cy
            re p orts or oth e r com m u n i cati o n s , a n d oth e r i nfo rm atio n rel ati n g to yo u r paym e n t h i stori e s , cre d i tworth i n es s , a n n u a l i n co m e , or a b i l ity to
            sati sfy y o u r o b l i g at i o n s .

    W e proh bit the sale o r transfer o f personal infomiation t o non-affiliated entities for their use without giving you the opportunity t o opt-out. W e may disclose such information i n order
    to effect or carry out any transaction that you have requested of us or as necessary to complete our contractual obligations with you . We may also share your infomiation with service
    providers that perfomi business operations for us, companies that act on our behalf to market our services, or others only as permitted or required by law, such as to protect against
    fraud or in response to a subpoena. We may also share or transfer our infomiation in the event we transfer or sell your account or our business assets to another provider.

    By carrying out those services, we may disclose your information, as we see fit and as permitted by law, to your creditors, credit card companies, collection agencies, banks, and
    other entities and individuals specifically necessary to effect, administer and perform our services.

    Your Choices/Opt-out

    We provide you the opportun ty to 'opt-out' of having your personally identifiable infomiation used for certain purposes. By providing infomiation to Company you are consenting to the
    co lection, use and disclosure of such personal infomiation in the manner described in this privacy policy. We provide you the opportunity to withdraw your consent when such
    infomiation is co lected. Such consent may be withdrawn by calling the telephone number provided below or may be done in writing/email and sent to our customer service
    department at the following physical address: ARETE FINANCIAL FREEDO M , 1 261 E. Dyer. Rd. #1 00 Santa Ana, CA, 92705 (888) 331 -5827

    How We Protect Your Information

    We train our employees to protect all customer infomiation. We maintain physical, electronic and procedural controls that comply with government standards. We authorize our
    employees, agents and contractors to get infomiation about you only when they need it to do their work with us. You can help to maintain the security of your online transactions by not
    sharing your personal infomiation or password w th anyone. Remember, no method of transmission over the Internet, or method of electronic storage, is 1 00% secure.

                             Client Signature:             --------- --------------- Date: ------------




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                                                                               VERIFICATION OF INCOME

      Date: Oct 26, 201 7

      Dear Employer: Riverside Community College

      We need your help concerning the paystubs for this employee. We need you to provide 30 days of the most recent paystubs a copy of the actual paystubs, as soon as poss ble. The
      employee has signed his consent to release them and we are working under a deadline to receive these paystubs.

      Employee Name:            ------'-----------
                                Darrelle Thompson
                                                   -----·
      Employee Social Security Number:

      PLEASE SEND 30 DAYS OF THE MOST RECENT PAYSTUBS TO:



      FAX: (888) 366-221 9
      EMAIL: info@aretefinancialfreedom.com




      I am the individual, to whom the requested information or record applies. Please note that you, as my Employer, may be asked other employment questions at a
      later date, if the paystubs do not contain all the information needed by this Company.



      Employee Signature:
      Name of Employer:         Riverside Community College

      ARETE FINANCIAL FREEDOM , 1 261 E. Dyer Rd. #1 00, Santa Ana, CA, 92705 (888) 331 -5827




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                                                                                   Arete Financial Freedom



                                                                                   Limited Power of Attorney



    This is a Limited Power of Attorney for Arete Financial Freedom to communicate w th all parties involved with my Federal Student Loans.

    I (Principal), expressly authorize Arete Financial Freedom, its agents and representatives (hereinafter AFF) permission to communicate with all parties involved with my Federal
    Student Loans, to whom I u nderstand and agree I remain primarily obligated . For the purpose of assisting AFF in carrying out its obligations pursuant to our Agreement, I
    understand and agree that this authorization does not represent an engagement of AFF for legal services, nor does it expand the scope of AFF obligations under our Agreement. It
    is solely to permit AFF to communicate with all parties involved with my Federal Student Loans, including the creation of rny FSA ID.



           1. Principal hereby grants to said attorney in fact full power and authority to do and perform each and every act and thing which may be necessary, or convenient, in connection
          with any of the foregoing , as fully, to a l intents and purposes, as principal might or could do if personally present, hereby ratifying and confirming all that our said attorney in
          fact shall lawfully do or cause to be done by authority hereof to communicate with the Department of Education (DOE), DOE loan servicers, licensed collection agencies, and
          all other related entities and individuals relating to my Federal Student Loans and the specific obligations that AFF has undertaken.

          2. I understand and agree that AFF is not authorized to dispense any legal advice, nor will I request or accept such, relating to my personal financial situation . All
          communications between my creditors, the parties listed above and AFF are with my express permission and instruction. I understand that AFF is not a law firm, is not
          licensed to practice law or provide legal advice, and I expressly agree to waive, forgo, indemnify and defend any claim by Principal against AFF relating to the practice of law. I
          understand that any creditor or collection activity, demands, or lawsuits are unrelated to my enrollment in the AFF program.

           3. In accordance with Section 805(b) of the Fair Debt Collection Practices Act, I hereby authorize third party communication from any and all employees of the Department of
           Education (DOE), DOE loan servicers, licensed collection agencies and all creditors or other third parties to communicate directly with AFF concerning my account or the
           collection activities associated with it.

    Principal Signature:            --------- -----




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                                       Equitable Acceptance Revolving Credit Plan

      Arete Financial LLC

      Applicant
      Contract :                 1 74858275
      Soc Sec. No.:                                        Tr-ack # :                  1 1 7788                   Referenco # :               28185
      Name :                    Darrelle Thompson           Phone :                                               Email :                                         @yahoo.com
      Address :                                                                        location :                 Menifee CA             , United States
      How long at addr. :        1 Yrs.                     Home Own,m1hlp : ownet                                Marital Status              Married
      Drivers License :                                     Mortgage :                 $ 1 ,800.00                Dependents ;                3
      In come Type :             Employed                   Monthly Sal:uy :           $1 ,583.00                  Monthly Housohold Income : $6,805.00
      Months. Of Employ. : 1 08                             Employer :                 R:verside Community �tlon :




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      Employ. Address                                       Employ. Locatio n .        RiVers-ide CA                     Employ. Phone :            Redacted
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      Applicant References ----;'-f----\           ..:,+----------------------+--1'-----------
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      By sig�.ng below, I (or "we", hereafter, If mo,a tna" one purchase) agree to "t'i�c you �;"' ucd l reprt and any olher 1nlwna1 on about my four) cred1lwort�mess from
      credit bureaus end other sc,.--ccs which you cor;sitler nacessaiy aoo aµp<cpriele. Further, (authorize you to obtain va��caticn of my �a,a,y hwel(s) from my employar(s).
      I authorize you to give informaticn concerning your credrl experience with me (us) to olhe<s inchiding credit bureaus. I author:Le you lo fwnlsh information aoout
      my accou1t le etadit reporting aget1eies arid anyone else who may lawfuly receive such informato,1 By signing belov,, I am e<ecvting my Ro,olving Credit Plan with you
      (the "Credil P1a1•) as well as signing my Cred,! Appl•cation. I agree to be bound bf alt of ltie terms and condi�o�s of Credit Plan as stated on the reverse. I understand that you w,11
      ra1y en th& .-ifc,ma�on stated In my Credit Applicalion '" granting me crwit ur dor tho C,odi\ Plan and therefore, I ,'d<lrrant th�t all statcrnonls m�dc in Credit Appl'calion are le the
      best of my knowledge true and correct. Upon ;,Jgning this, ! a:kno-,,1edge re<:eipt cf a ln.le ar"ld compl&le copy including a copy o( tho impo tant notice regar,1ing errors or inquiries abOIJI




      Arele financial tic                                           Rep lD: 281 85                                                   Date: 1 0126/2017
      (Seller-Company Narne)




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                                              Pu rchase Agreement

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      Billing _
       Sold To :                    DARRELLE THOMPSON                             Address :
       Location :                   MENI F EE CA,         Red , United States
      Shipping                                            acte
       Shlp To :                                 d
                                    Darrelle Thompson                             Address :                      Redacted
       Location :                   Menifee CA                   , United States                          Best Phone :              Home
       Best time :                  1 2PM                        Email Addrass                                         @yahoo.com



        1st Month Payment : 01/5120 1 8                               Initial :



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                                                              Equitable Acceptance Corporation
                                                                        Privacy Policy

                           Equitable Acceptance Corporation knows that the privacy ofthe personal information that we
                   receive about you is important to you. We und ersta11d that you trust us to protect the confidentiality
                   a nd secu rity of that information . This notice informs you of our privacy policy and describes how we
                   treat the information we receive from you .

                                                            Information We May Collect About You

                            We collect nonpublic information about you only in connection with the services you requet of
                   us. The types of non public personal information that we collect vary according to the services that we
                   pe rform for you, and�l�de: (1) information that we receive from you (such a��,1ame, address,
                   income, assets, soda}'fecurity.. information, a nd other financial or household inforn{cit;onl; (2)
                   information abou�   y�ur relatio"'n sb(?a ��,p�f!)f:<1t�f"( witt.f u s � othert;tftf�'�s �y�nt history and
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                            We do not disclose any public or nonpublic personal information about you that you have
                   provided to us to anyone outside our company, except as authorized by you or required by law. We do
                   not sell client information to anyone or disclose client information to marketing com panies.

                                                              How We Protect Your Information

                            We restrict access to public and nonpublic personal inormation about you that you have
                   provided to us to tho�1n:-Q.t1f company \'>fu-0 need to knowthe information to prov1e1 ervices to you .

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                            If you have questions or would like add'lttonafinformation about our privacy policy, please call
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                   Eq uitable Acceptance Corporation at 763-797-0241 .




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Attach. B
